            Case 3:08-cr-00001-BES-VPC           Document 21         Filed 06/06/08       Page 1 of 5

AO 2458 (Rev.06/05)ludgmentinaCriminalCase                                     FrLF'                    -   ?Fîfl!$'.
                                                                                                                    r7j
                                                                                                                      ----q
         Sheet 1                                                               ENTEFEI
                                                                                     )            -         TEf
                                                                                                              ?,
                                                                                                               .
                                                                                                               ,E!
                                                                                                                 )f'
                                                                                                                   lq
                                                                                              r       . I               zo


                                        UNITED STATES DISTRICT CO RT
                                              DISTRICTOFNEVADA                     Jkj -i 2208
UNITED STATES OF AM ERICA                            JUDGMENT IN A RIMIN
         vs.                                                                   S(
                                                                                -Fih((JS l1S18rC7'(lOtJFtT
                                                     CASENUMBER:             3:08-ZR211f2P.J* 1
ev nlcln vlxccxwt                                                       sï                            ---        rr?(,a a
                                                                                                            . -.- .- . - -- .-
                                                     USM NUMBER:             41315-048
THE DEFENDANT:
                                                     ScottFreem an
                                                     DEFENDANT'S ATTORNEY

(XX) pledguiltyto countts) One oftheSupersedinnInformationfiled 05/01/2008
( ) pled nolocontenderetocountts)                                  whichwasaccepted bythecourt.
( ) wasfound guiltyoncountts)                                      aftera pleaofnotguil
                                                                                      ty.
Thedefendantisadjudicatedguiltyofthese offensets):
Title & Section                Nature ofOffense                      Date Offense Ended                     Count
18:1853                        Unlawfully Cutting Trees              April7,2007                             1
                               On United States Land




       Thedefendantissentencedasprovidedinpages2through 5 ofthisjudgment.Thesentenceisimposed pursuant
to the Sentencin: Reforrn Ad of1984.

()     Thedefendanthasbeenfoundnotguiltyoncountts)
(XX) Countls) OneandTwoofthe lndictmentfiled 01/16/2008 (isltare)di
                                                                  smissed onthemotion oftheUnitedStates.
       IT IS ORDERED thatthedefendantm ustnoti
                                             fythe UnitedStatesAiorneyforthisdistrictwithin30 daysofanychange
ofname,residence ormailingaddress untila11fines,restitution,costs,and specialassessmentshmposed bythisjudgment
arefully paid.Iforderedto payrestitution,the defendantmustnoti
                                                             fythe courtand Uni
                                                                              ted Statesattorneyofmaterialchanges
in econom ic circum stances.



                                                           June
                                                           D e of      osition ofJudgme


                                                             gnature ofJudge

                                                           BRIAN E.SANDOVAL,U.S . DISTRICT JUDGE
                                                           Nam and Title ofJudge
                                                                                              o'
                                                           Dat
            Case 3:08-cr-00001-BES-VPC             Document 21         Filed 06/06/08      Page 2 of 5
 AO 2458 (Rev06/05)JudgmentinaCriminalCase
        Sheet4 -Probation
 DEFENDANT: PATRICIA VINCENT                                                                       Jud
 CASE NUM BER                                                                                         gment-Page 2
                :3:08-CR-001-BES (VPC)
                                                     PROBATION
       TheTERMI
 SHALL BE  defendant
                NA i s hereby sentenced to probationfora term of ONE (1ïYEAR - THE TERM O F PRO BATION
                   TED SUBJECT TO THE PAYM ENT O F THE $25.00 SPECIAL ASSESSMENT FEE
                                               -



 The defendantshallnotcom mitanotherfederal, state,orI
                                                     ocalcrime.
The defendantshallnotunlawfullypossess a controlled substance. Revocationofsupervision ismandatoryforpossession
ofillegalcontrolled substances. The defendantshallrefrain from any unlawfuluse ofa controlled substance
                                                                                                        .




()     Th
       offeabovedrugtestingconditionissuspended basedonthecour      l'sdeterminationthatthedefendantposesalow risk
          tlture substance abuse (Check,i
                                .         fapplicabie.)
())
(      Th
       Theede  fendantshallnotpossessafirearm,destructivedevice, oranyotherdangerousweapon.(Check ifapplicable.)
            defendantshallcooperate inthe collection ofDNA as directed by the probation officer
()     Thedefendantshal!registerwiththe state sex offenderregistrationagencyinthestate where(tCh
                                                                                               .  eck,ifapplicable.)
                                                                                                he defendantresides
()     wor
       Theks,orîs a student,as directed by the probati
                                                     on officer. (Check,i
                                                                        fapplicable.)                                   ,
           defendantshallparticipate in an approved program fordomesticviotence.
                                                                            (Check,i
                                                                                   fapplicable.j
      Ifthisjudgmentimposesafineorarestitution,i
                                               tisacondi
                                                       tionofprobationthatthedefendantpayinaccordancewith
theScheduleofPaymentssheetofthisjudgment.
        The defendantlmustcomply with the standard conditions thathave been adopted bythis courtasw
addilionalconditionson the attached page                                                            ellaswith any
                                        .



                                    STANDARD CONDITIONS OF SUPERVISIO N
1)     thedefendantshallnotleavethejudicialdistrictwithoutthe permissionofthecoud orprobationofficer;
2)     thedefendantshallreporttotheprobationofficerandshallsubmitatruthfulandcompletewrittenreportwithinthefirst
       five days ofeach month'
3)     thedefendantshallanswertruthfullyaIIinquiriesbytheprobationofficerandfollow theinstructionsofthe probation
       offi
         cer;
4)     the defendantshallsupporthisorherdependantsand meetotherfamil
                                                                   y responsibiliti
                                                                                  es'
5)     thedefendantshallworkregularlyataIaM uloccupationunlessexcusedbytheprobationof,ficerforschooling training,
       orotheracceptable reasons'                                                                           ,
                                ,
6)     the defendantshallnoti
                            fy the probation ofscerten days priorto anychange in resi
                                                                                    dence oremployment;
'
J)     thedefendantshallrefrainfrom excessive useofalcohols  '

8)    the defendant shallnotfrequent places where controlled substances are illegally sold, used, distributed, or
      ad ministered;
9)    the defendantshallnotassociate with any persons engaged in criminalactivity, and shallnotassociate w ith any
      person convicted ofa felonyunl
                                   ess granted perm ission todo so by the probation officer;
10)   the defendantshallpermi
                            ta probationoffi
                                           oerto visithim orheratanytimeathomeorelsewhereandshallpermit
      confiscation ofany contraband observed in plain view ofthe probation officer'
11)   the defendantshallnoti
                           fythe probation officerwithin seventy-two hoursofbeing arrested orquestioned by ala
      enforcementofficer'                                                                                          w
12)   thedefendantshallnotenterintoanyagreementtoactasaninformeroraspeci
                                                                       alagentofaIaw enforcementagen
      wi
       thoutthe perm ission ofthe coud;                                                                           cy
13)   asdirected bythe probati
                             onofhcer,the defendantshallnotifythird partiesofrisksthatmay beoccasioned byth
      defendant's criminalrecord orpersonalhistory orch                                                             e
                                                         aracteristics and shallpermitthe probationofficerto makesuch
      notifications and to confirm the defendant'scompliancewi th such notification requirement.
                 Case 3:08-cr-00001-BES-VPC               Document 21        Filed 06/06/08       Page 3 of 5
     AO ;!45B (Rev06/05)JudgmentinaCriminalCase
            Sheet5 -CriminalMonetal Penal
                                        ties
     DEFENDANT: PATRICIA VINCENT                                                                     J
     CASE NUM BER                                                                                     udgment-Page 4
                      :3:08-CR-001-BES (VPC)
                                                CRiMINAL MONETARY PENALTIES
            The defendantmustpay the totatcriminalmonetary penaltiesunderthe scheduie ofpay
                                                                                           ments on Sheet6.
                                     Assessm ent                  Fine              Restitution
            Totals:                  $25.00                                         $100,000.00
                                     Due and payable im mediatel
                                                               y. n/
                                                                   a                ($35,000.00 -U.S.ForestService
                                     Receipt#20631                                   $65,000.00-U.S.ForestFoundation)
                                                                                    This amountwasdelivered to theU SA
                                                                                    on 05/01/2008 asfullpaymentof
                                                                                    resti
                                                                                        tution.

    ()      Onmoti
                 on bythe Government,IT IS ORDERED thatthe specialassessmentimposed bythe Courtisremitted.
    ()      Thedetermination ofrestitutionisdeferreduntil                    .   An Amended Judgmentin a CriminalCase
            (AO 2450)willbe entered aftersuchdetermination  .



    ()      The
              odefendantshah
            bel            imakerestitution(includingcommunityrestitution)tothefollowing payeesinthe am ountlisted
                w.

            lfthe defendantmakes a partialpayment, each payee shallreceive an approximately proportioned payment
            specified othel
                          w ise inthe p                                                                          , unl
                                                                                                                     ess
                                        riority orderorperoentage paymentcolumn below . However,pursuantto 18 U.
            3664(1), aIInonfederalvictims  mustbe paid beforethe United States is paid.                         S. C.j
    Name ofPavee                              TotalLoss          Restitution Ordered               Pri
                                                                                                     oritv ofPercentaoe
    Clerk,U.S.DistrictCourt
    Attn:fDinanci
                alOfficer
    Case No.
    333 Las Vegas Boulevard, South
    Las Vegas,NV 89101

    TOTAV                         :        $                     $

    Resti
        tutionamountordered pursuantto Rlea agreement: $
Thedefendantmustpayinterestonrestitutionand afineofmore than$2,500,unless the restitution orfine is paid in full
b
meforethefifteenthdayafterthedateofjudgment!pursuantto 18 U S.C.93612(9.Allofthe paymentoptionsonSheet6
                                                                  .
  aybesubjectto penaltiesfordelingtlencyanddefault, pursuantto 18 U.S.C.j 3612(g).
The courtdetermined thatthe defendantdoes nothave the ability to pay interest
                                                                             and itis ordered that:
          theinterestrequirementiswaived forthe: ( )fine ( )restitution  .
          the interestrequirementforthe: ( )fine ( )restituti
                                                            on ismodifiedasfoll
                                                                              ows:


'
'Findings forthe tota!amountofIosses are required underChapters 109A 110,110A and 113A ofTitle 18 foroffenses
                                                                    ,
committed on orafterSeptember13, 1994 butbefore April23, 1996.
          Case 3:08-cr-00001-BES-VPC             Document 21         Filed 06/06/08      Page 4 of 5

AO 2458 (Rev,06/05)Judgmentina CriminalCase
      Sheet3 -Supervised Release
DEFENDANT:
CASE NUMBER PATRICI  A VINCENT                                                               Judgment- Page 3
              :3208-CR-0O1-BES (VPC)

                                    SPECIAL CONDITIONS OF SUPERVISION
1.    W arrantless Search-The defendantshallsubmitto the searchofhis/herperson, and anyproperty,residence,place
      ofbusiness and vehicle underyoufcontrolto a search conducted by the United States Probation Ofrlcerorany
      authori zed person underthe immedi ate and personalsupen/isionofthe probation officer, ata reasonable tim e and
      in a reasonable manner based upon reasonable suspicion ofcontraband orevi dence ofa viol  ationofa condition of
      supervisions'failuretosubm i
                                 ttoasearchmaybegroundsforrevocati  on',t
                                                                        hedefendantshallinform any otherresidents
      thatthe premisesmaybesubjecttoa search pursuanttothiscondition.
2.    CommunitySew i
                   ce -Thedefendantshallcom pleteeiohty(80)hoursofcommunitysew ice,asapproved anddirected
      bythe probationofficer.TheCourtfindsthatdefendanthascompleted thiscondition and issatisfiedthatthiscondition
      has been met.
               Case 3:08-cr-00001-BES-VPC              Document 21        Filed 06/06/08       Page 5 of 5
 AO 2458 (Rev06/05)Judgmentina CriminalCase
         Sheet6 -Schedule ofPayments
 DEFEE
 CASEENDANT:   PATRICIA VINCENT                                                                    Judgment- Page 5
        NUMBER:3:08-CR-001-BES (VPC)
                                               SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, paymentofthe totalcriminalmonetarypenaltiesare due asfollowsr

 A       (XX) Lumpsum paymentof$ 100.025.00 dueimmediately,balancedue
              ( ) notlaterthan                  ;or
              ( ) inaccordancewith( )C,( )D or( )E below'   ,or
 B       ()      Paymenttobeginimmedi
                                    ately(maybecombinedwith( )C,( )D, or( )E below;or
 C       ()     Paymentin                                    (e.g.,weekly,monthly, quarterly)installmentsof$
                th overaperiodof                      (e.g.monthsoryears),to                   (eg.,30 or60 days)after
                                                                                                   .

                  edateofthi
                           sjudgment'
                                    ,or
 D       ()      Paymentin          (e.g.,weekly,monthly,quarterl
                                                                y)installmentsof$         overaperiodof
                    (e.g.,monthsoryears),to           (e.g.,30 or60days)afterreleasefrom imprisonmentto aterm is
                supervision'or

 E      Paymentduring theterm ofsupervisedreleasewillcommencewi
        f                                                     thin                       (eg.,30 or60days)afterrelease
                                                                                           .
         rom imprisonment. The coud willsetthe paymentplan basedon an assessmentofthe defendant's ability to pay at
        thattim e'or

F       ()      Specialinstructionsregarding thepaymentofcriminalmonetarypenalties:

Unlessthe courthas expressly ordered otherwise i   fthisjudgmentimposes imprisonment, paym entofcriminalm onetary
penallies is due during imprisonment. AIlcriminalmonetary penalties, exceptthose payments made through the Federal
Bureau ofPrisons'Inm ate FinancialResponsibility Program , are made to the clerkofthe court.

The defendantwillreceive creditforallpaym ents previ
                                                   ousl
                                                      y made toward any criminalmonetary penalties imposed.


()      JointandSeveral
        Defendantand Co-DefendantNames and Case Numbers (including defendantnumberls TotalAmount,Jointand
        SeveralAm ount and corresponding payee , ifappropriate.


()      Thedefendantshallpaythe costofprosecuti
                                              on.
()      The defendantshallpaythefollowingcourtcostts):
()      Thedefendantshallfodeitthe defendant'sinterestinthefollowingpropertytothe Uni
                                                                                    tedStates:

Pa
(5)ymen
    fine itsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)resti
                                                                                           tutioninterest,(Mjfineprincipas,
          nterest,(6)communi ty resti
                                    tution,(7)penalties,and(8)costs,including costofprosecution andcoud costs    .
